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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 18-cv-00396-GPG

DUMISAI HASANI HOCKADAY,

       Plaintiff,

v.

CORE CIVIC, In its Official Capacity,
JEFF VARNER, Contract Worker/Case Manager (Core Civic Employee) at Crowley
     County Correctional Facility, in His Official and Individual Capacities,

       Defendants.


                                  ORDER OF DISMISSAL


       Plaintiff, Dumisai Hasani Hockaday, is in the custody of the Colorado Department

of Corrections (CDOC) at the Crowley County Correctional Facility (“CCCF”) in Olney

Springs, Colorado. Mr. Hockaday has filed a Prisoner Complaint asserting a

deprivation of his constitutional rights pursuant to 42 U.S.C. § 1983.

       Mr. Hockaday has been granted leave to proceed in forma pauperis pursuant to

28 U.S.C. § 1915. (See ECF No. 4). Pursuant to § 1915(e)(2)(B)(i), the Court must

dismiss the action if Plaintiff’s claims are frivolous or malicious. A legally frivolous claim

is one in which the plaintiff asserts the violation of a legal interest that clearly does not

exist or asserts facts that do not support an arguable claim. See Neitzke v. Williams,

490 U.S. 319, 327-28 (1989). Subsection (e)(2)(B)(iii) of § 1915 requires a court to

dismiss at any time an action that seeks monetary relief against a defendant who is

immune from such relief.




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       The Prisoner Complaint is construed liberally because Plaintiff is not represented

by counsel. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972); Hall v. Bellmon, 935

F.2d 1106, 1110 (10th Cir. 1991). However, the Court does not act as an advocate for

pro se litigants. See Hall, 935 F.2d at 1110. The Court has reviewed the Prisoner

Complaint pursuant to D.C.COLO.LCivR 8.1(b). For the reasons discussed below, the

Prisoner Complaint and this action will be dismissed as legally frivolous.

I.   The Prisoner Complaint

       Mr. Hockaday alleges that Defendant Core Civic, formerly known as Corrections

Corporation of America, owns and operates CCCF, pursuant to a contract with the State

of Colorado. (ECF No. 1 at 2, 6). Defendant Jeff Varner is a Core Civic employee and

Plaintiff’s case manager at CCCF. (Id. at 2, 7). Plaintiff alleges that Defendant Varner

is aware of his pending civil rights action in Case No. 17-cv-01018-MSK-MJW. Mr.

Hockaday states that on August 22, 2017, a telephonic status conference was held by

Magistrate Judge Michael J. Watanabe, in Case No. 17-cv-01018-MKS-MJW. At the

conclusion of the status conference, Magistrate Judge Watanabe set a scheduling

conference for November 7, 2017. (Id. at 8). According to Plaintiff, the date and time

of the scheduling conference was conveyed to Defendant Varner.

       Mr. Hockaday alleges that CCCF went into a lockdown on October 27, 2017, due

to a facility disruption. Plaintiff asserts that due to Defendant Varner’s failure to follow

prison procedures, he was not allowed to participate in the November 7, 2017

scheduling conference, which occurred while CCCF was still in lockdown. Mr.

Hockaday maintains that the “practical effects” of his failure to appear by telephone at

the scheduling conference are “contempt of court; dismissal of the case; entry of a

decision against Plaintiff Hockaday; and applicable sanctions, including but not limited
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to filing and docketing fees, and opponent’s attorney’s fees.” (Id. at 10). Plaintiff further

complains that he was hindered in his ability to address the Court with relevant

questions and concerns about his case, and has suffered a lack of knowledge about

upcoming court dates. (Id. at 11). Mr. Hockaday also alleges that Defendant Varner’s

actions were an isolated incident, but that Plaintiff fears further retaliation by Core Civic

employees in connection with any future court-ordered appearances. Mr. Hockaday

requests equitable and monetary relief.

II. Analysis

   A. Claims Against Core Civic and Jeff Varner, in his Official Capacity

       Core Civic is a private corporation that contracts with the CDOC to operate

CCCF. A private corporation and its employees sued in their official capacities are

liable under § 1983 only when an official policy or custom of the corporation causes or is

the “moving force of the constitutional violation.” Monell v. Department of Social

Services of City of New York, 436 U.S. 658, 694 (1978). See also Dubbs v. Head Start,

Inc., 336 F.3d 1194, 1216 (10th Cir. 2003) (traditional municipal liability principles apply

to claims brought pursuant to 42 U.S.C. § 1983 against private corporations). Thus,

Core Civic and Jeff Varner, sued in his official capacity, are subject to liability under

§ 1983 only if the alleged harm resulted from an unconstitutional policy or custom on the

part of Core Civic. See Smedley v. Corrections Corp. of America, No. 04-5113, 175 F.

App'x 943, 946 (10th Cir. Dec. 20, 2005) (unpublished) (“[I]n order to hold CCA liable for

the alleged tortious acts of its agents, [the plaintiff] must show that CCA directly caused

the constitutional violation by instituting an official municipal policy of some nature, that

was the direct cause or moving force behind the constitutional violations.” (internal

quotation marks and citations omitted)). Plaintiff cannot maintain a § 1983 claim against
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Defendant Core Civic and Jeff Varner, sued in his official capacity, on the basis that

Defendant Varner allegedly inflicted injury on the Plaintiff. See id. at 946 (citing Monell

v. Dep't of Social Services of New York, 436 U.S. 658, 694 (1978)).

       In the Prisoner Complaint, Mr. Hockaday does not state any specific facts to

show that the alleged violation of his constitutional rights by Defendant Varner was the

result of an unconstitutional policy or custom of Core Civic. Indeed, he alleges that

Defendant Varner violated the prison’s policy that inmates must be made available for

telephone conferences ordered by the court. As such, Core Civic, and Jeff Varner,

sued in his official capacity, are improper Defendants to this action and will be

dismissed. The Court will not afford Mr. Hockaday an opportunity to amend his claims

against Core Civic and Jeff Varner, sued in his official capacity, because, for the

reasons discussed below, the underlying constitutional claim is frivolous.

   B. § 1983 Claim Against Defendant Varner, in his Individual Capacity

       Mr. Hockaday sues Defendant Varner, in his individual capacity, under § 1983 for

violating Plaintiff’s constitutional right of access to the courts.

       To state an arguable claim for denial of the constitutional right of access to the

courts, Mr. Hockaday must allege facts to show that Defendant Varner’s alleged actions

hindered Plaintiff’s efforts to pursue a non-frivolous legal claim. Lewis v. Casey, 518

U.S. 343, 351, 356 (1996). See also Peterson v. Shanks, 149 F.3d 1140, 1145 (10th

Cir.1998) (“To present a viable claim for denial of access to courts, . . ., an inmate must

allege and prove prejudice arising from Defendants' actions.”).

       In the Prisoner Complaint, Mr. Hockaday alleges that he missed a November

2017 telephone status conference set by Magistrate Judge Watanabe in Case No. 17-



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cv-01018-MSK-MJW, and he goes on to speculate about the possible prejudice he may

suffer as a result.

        The Court takes judicial notice of the electronic docket in Case No. 17-cv-01018-

MSK-MJW. 1 The electronic docket reflects that a status conference was held on August

22, 2017, at which Plaintiff appeared by telephone. (ECF No. 63, Courtroom Minutes).

At the status conference, a Scheduling Conference was set for November 7, 2017.

(Id.). In an Order dated November 2, 2017, Magistrate Judge Watanabe vacated the

Scheduling Conference set for November 7, 2017, and stayed discovery pending

resolution of the Defendants’ Motion to Dismiss. (ECF No. 87). On November 27,

2017, Magistrate Watanabe issued a minute order, in which he denied as moot the

Plaintiff’s “Ex Parte Application; For Order Enlarging Time (Docket No. 47)” because

“[a]ny issues Plaintiff may have had in July or August 2017 as a result of a facility

lockdown are moot.” (ECF No. 89). The Court has not issued any further orders in

Case No. 17-cv-01018-MSK-MJW since November 27, 2017.

        Mr. Hockaday fails to state an arguable claim for relief based on the alleged

denial of his constitutional right of access to the courts. Plaintiff’s allegations that

Defendant Varner prevented him from attending a Scheduling Conference by telephone

on November 7, 2017 are belied by the electronic docket which indicates that the

November 7 Scheduling Conference was vacated by order dated November 2, 2017.

Further, Mr. Hockaday has failed to allege facts to show that Defendant Varner engaged

in any conduct that hindered him from pursuing his claims in Case No. 17-cv-01018-

MSK-MJW. Discovery in that action has been stayed pending a ruling on the



1The Court may take judicial notice of the filings in other cases pending before this Court. See St. Louis
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Baptist Temple, Inc. v. Fed. Deposit Ins. Corp., 605 F.2d 1169, 1172 (10 Cir. 1979).
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Defendants’ Motion to Dismiss, filed on August 25, 2017 (ECF No. 70), to which Plaintiff

filed a response on September 12, 2017 (ECF No. 75). Therefore, there are no pending

deadlines in Case No. 17-cv-01018-MSK-MJW with which Defendant Varner could

possibly interfere.

       Although the Court would normally afford a pro se plaintiff the opportunity to

amend his pleading to state an arguable claim for relief, any amendment in this case

would be futile.   See Curley v. Perry, 246 F.3d 1278 (10th Cir. 2001) (recognizing that

sua sponte dismissal of a prisoner complaint is appropriate where it is clear that the

plaintiff cannot prevail on the facts alleged and any amendment would be futile).

       Consequently, Mr. Hockaday’s claim that Defendant Varner violated his

constitutional right of access to the courts will be dismissed as legally frivolous.

       Mr. Hockaday is warned that prior to filing the instant action, he had two

strikes against him pursuant to 28 U.S.C. § 1915(g). Hockaday v. State of

Colorado, Case No. 11-cv-02909-LTB, was dismissed as legally frivolous on

November 16, 2011 (strike 1). Hockaday v. Colorado Department of Corrections,

Case No. 17-cv-02991-LTB, was dismissed as legally frivolous on February 6,

2018 (strike 2).      The dismissal of the present action as legally frivolous is strike

3. If and when the second and third strikes ripen, see Childs v. Miller, 713 F.3d

1262, 1266 (10th Cir. 2013), Mr. Hockaday will be barred from proceeding in forma

pauperis “in future civil actions . . . in federal court unless he is ‘under imminent

danger of serious physical injury,’ § 1915(g), and he makes ‘specific and credible

allegations’ to that effect.” Id. at 1267 (internal punctuation and citation omitted).

III. Orders

   For the reasons discussed above, it is
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       ORDERED that the Prisoner Complaint and this action are DISMISSED WITH

PREJUDICE as legally frivolous, pursuant to 28 U.S.C. § 1915(e)(2)(B). It is

       FURTHER ORDERED that leave to proceed in forma pauperis on appeal is

denied pursuant to 28 U.S.C. ' 1915(a)(3) because any appeal from this Order would

not be taken in good faith. See Coppedge v. United States, 369 U.S. 438 (1962). If Mr.

Swiney files a notice of appeal he also must pay the full $505 appellate filing fee or file a

motion to proceed in forma pauperis in the United States Court of Appeals for the Tenth

Circuit within thirty days in accordance with Fed. R. App. P. 24.

       DATED February 27, 2018, at Denver, Colorado.

                                           BY THE COURT:



                                             s/Lewis T. Babcock_______________
                                           LEWIS T. BABCOCK, Senior Judge
                                           United States District Court




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